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 1

 2

 3

 4

 5                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 6                                                AT SEATTLE

 7 PHILADELPHIA INDEMNITY                                       No.
   INSURANCE COMPANY, a Pennsylvania
 8 corporation,                                                 COMPLAINT FOR DECLARATORY
                                                                JUDGMENT
 9                         Plaintiff,

10            vs.

11 KING COUNTY WASHINGTON, a
   Washington municipal corporation; PIONEER
12 HUMAN SERVICES, a Washington non-
   profit corporation; CARI DICKSON, a single
13 woman; and TARA KANE, a single woman,

14                         Defendants.

15

16             Plaintiff Philadelphia Indemnity Insurance Company (“Philadelphia”) by and through its

17 counsel, Forsberg & Umlauf, P.S., alleges as follows:

18                                I. INTRODUCTION AND NATURE OF ACTION

19             In this declaratory relief action, Philadelphia seeks the following relief:

20             1.1         A declaration of the rights, duties, and liabilities of Philadelphia under the policies

21 of insurance it issued to Pioneer Human Services (“Pioneer”) and for which Certificates of

22

23

     Complaint for Declaratory Judgment – 1                                       FORSBERG & UMLAUF, P.S.
                                                                                          ATTORNEYS AT LAW
                                                                                    901 FIFTH AVENUE  SUITE 1400
                                                                                    SEATTLE, WASHINGTON 98164
     3170026 / 1046.0013                                                           (206) 689-8500  (206) 689-8501 FAX
                 Case 2:22-cv-01080-SKV Document 1 Filed 08/02/22 Page 2 of 31



 1 Liability Insurance (“COI”) were issued in favor of King County, Washington (“King County”),1

 2 with respect to the lawsuit jointly filed by claimants Cari Dickson and Tara Kane against King

 3 County and Pioneer Human Services.

 4             1.2         A declaration that Philadelphia is not obligated to pay for or reimburse King County

 5 for either a defense or indemnity in the lawsuit jointly filed by claimants Cari Dickson and Tara

 6 Kane against King County and Pioneer Human Services.

 7                                                     II. PARTIES

 8             2.1         Philadelphia is a Pennsylvania insurance corporation with its principal place of

 9 business in Bala Cynwyd, Pennsylvania. Philadelphia is authorized to do business and is doing

10 business in the state of Washington.

11             2.2         Defendant King County is a Washington municipal corporation with its principal

12 offices located in Seattle, King County, Washington.

13             2.3         Defendant Pioneer is a Washington non-profit corporation with its principal offices

14 located in Seattle, King County, Washington.

15             2.4         Upon information and belief, Defendant Cari Kim Dickson is a single woman who,

16 at the time of the events alleged in this Complaint, was believed to have resided in King County,

17

18
     1
19    The COI involving the claims of Cara Dickson names the Certificate Holder as “King County Mental Health,
     Chemical Abuse & Dependency Services Division, 401 Fifth Avenue, #400, Seattle, WA 98104-1598.” The
     Description of Operations/Locations/Vehicles states: “King County, Its officers, officials, employees, and agents are
20   included as Additional Insureds as respects to General Liability, arising out of activities performed by or on behalf of
     the Agency when required by contract. General Liability policy shall be Primary and Non-Contributory.”
21
     The COI involving the claims of Tara Kane names the Certificate Holder as “King County Mental Health, Chemical
22   Abuse & Dependency Services Division, 401 Fifth Avenue, #400, Seattle, WA 98104-1598.” The Description of
     Operations / Locations / Vehicles states: “King County, Its officers, officials, employees, and agents are included as
     Additional Insureds as respects to General Liability, arising out of activities performed by or on behalf of the Agency
23   when required by contract. General Liability policy shall be Primary and Non-Contributory.”

     Complaint for Declaratory Judgment – 2                                             FORSBERG & UMLAUF, P.S.
                                                                                                ATTORNEYS AT LAW
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 1 Washington. She is a Licensed Practical Nurse who was, at the times alleged in this Complaint,

 2 an employee of Pioneer.

 3             2.5         Upon information and belief, Defendant Tara Kane, PMHNP-BC, PNP is a single

 4 woman who, at the time of the events alleged in this Complaint, was believed to have resided in

 5 King County, Washington. She is a Psychiatric / Mental Health Nurse Practitioner who was, at

 6 the times alleged in this Complaint, an employee of Pioneer.

 7                                        III. JURISDICTION AND VENUE

 8             3.1         Pursuant to 28 U.S.C. §2201, this Court has subject matter jurisdiction over this

 9 declaratory judgment action because an actual justiciable controversy exists between the parties

10 within the Court’s jurisdiction. This action involves a dispute about the application of insurance

11 coverage for a Complaint jointly filed by claimants Cari Dickson and Tara Kane against King

12 County and Pioneer Human Services arising from their work for Pioneer in a King County Drug

13 Court Program for Assertive Community Treatment (“PACT”) team.

14             3.2         This Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C.

15 §1332 because it involves an action between citizens of different states and the amount in

16 controversy is more than $75,000.00. The commercial general liability policies at issued in this

17 action for declaratory relief have liability limits of $1,000,000 per occurrence and $3,000,000 in

18 the aggregate for the type of damages claimed by Cari Dickson and Tara Kane against King County

19 and Pioneer Human Services in the underlying Lawsuit.

20             3.3         This Court has personal jurisdiction over the Parties because: (1) Philadelphia is a

21 foreign corporation doing business in the state of Washington and issued policies of insurance

22 within the state of Washington; (2) King County is a Washington Municipal Corporation located

23 in and with its principal office in Seattle, King County, Washington; (3) Cari Kim Dickson was

     Complaint for Declaratory Judgment – 3                                       FORSBERG & UMLAUF, P.S.
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 1 employed as Licensed Practical Nurse with Pioneer and claims injuries associated with her

 2 employment with Pioneer in Seattle, King County, Washington; and (4) Tara Kane was employed

 3 as a Psychiatric / Mental Health Nurse Practitioner with Pioneer and claims injuries associated

 4 with her employment with Pioneer in Seattle, King County, Washington.

 5             3.4         Venue is proper in this Court pursuant to 28 U.S.C. §1391 because: (1) King

 6 County because is a Washington Municipal Corporation located in and with its principal office in

 7 Seattle, King County, Washington; (2) Defendant Cari Dickson Defendant works in and is believed

 8 to reside in King County, Washington; (3) Tara Kane worked in and was believed to reside in King

 9 County, Washington; (4) the liability insurance policies at issue in this matter were issued to

10 Pioneer in Seattle, King County, Washington, and the COIs issued to King County were issued

11 and delivered to King County in Seattle, King County, Washington; and (5) the acts and events

12 from which the claims of Cari Dickson and Tara Kane against King County and Pioneer arose

13 occurred in Seattle, King County, Washington, which is within the judicial district of the United

14 States District Court for the Western District of Washington.

15                                 IV. STATEMENT OF PERTINENT FACTS

16 A.          Background Facts Surrounding Certificate of Insurance in Favor of King County

17             4.1         On or about October 27, 2021, claimant Cari Kim Dickson served on King County

18 Risk Management a Claim for Damages arising out of an incident that occurred on February 19,

19 2021, while she was employed by Pioneer.

20             4.2         On or about December 8, 2021, claimant Tara Kane served on King County Risk

21 Management a Claim for Damages arising out of an incident that occurred on February 19, 2021,

22 while she was employed by Pioneer.

23

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 1             4.3         King County and Pioneer entered into a King County Community and Human

 2 Services Contract whereby Pioneer was to provide certain drug testing and treatment services to

 3 King County and the King County Drug Court. That contract required Pioneer to (1) hold harmless

 4 and indemnify King County, its officer, employees and agents from claims or judgments arising

 5 out of or resulting from the negligent acts or omissions of Pioneer or its officers, employees and

 6 agent; (2) to waive, as respects King County only, any immunity that would otherwise be available

 7 against such claims under RCW Title 51 (Workers Compensation Act); and (3) to obtain and

 8 maintain insurance against claims for injuries to persons or damage to property which may arise

 9 from, or in connection with, the performance of work by Pioneer, its agents, representatives,

10 employees, and/or subcontractors and to furnish certificates of insurance and policy endorsements

11 adding King County as an additional insured under such insurance policy. Pioneer secured

12 insurance coverage with Philadelphia.

13             4.4         A Certificate of Insurance (“COI”) was issued on September 14, 2020, in favor of

14 King County, its officers, officials, employees, and agents as Additional Insured with respect to

15 General Liability arising out of activities performed by or on behalf of King County under the

16 above contract. That COI identified the following policies issued to Pioneer:

17      Policy No.                Policy Type             Policy Year            Limits of Insurance
       PHPK2179413             Commercial General      09/15/20 - 09/15/21   $1,000,000 each occurrence
18                               Liability Policy                            $3,000,000 General
                                                                             Aggregate
19     PHPK2179413             Automobile Liability    09/15/20 - 09/15/21   $1,000,000 Combined Single
                                                                             Limit
20      PHUB737970              Umbrella Liability     09/15/20 - 09/15/21   $10,000,000 each occurrence
                                     Policy                                  $10,000,000 aggregate
21     PHPK2179413                Professional         09/15/20 - 09/15/21   $1,000,000 Occurrence
                                    Liability                                $3,000,000 Aggregate
22

23

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1              4.5         A Certificate of Insurance (“COI”) was issued on September 17, 2018, in favor of

2 King County, its officers, officials, employees, and agents as Additional Insured with respect to

3 General Liability arising out of activities performed by or on behalf of King County under the

4 above contract. That COI identified the following policies issued to Pioneer:

5      Policy No.                 Policy Type              Policy Year          Limits of Insurance
      PHPK1880265              Commercial General       09/15/18 - 09/15/19 $1,000,000 each occurrence
6                                Liability Policy                           $3,000,000 General
                                                                            Aggregate
7     PHPK1880265              Automobile Liability     09/15/18 - 09/15/19 $1,000,000 Combined Single
                                                                            Limit
8      PHUB737970               Umbrella Liability      09/15/18 - 09/15/19 $10,000,000 each occurrence
                                      Policy                                $10,000,000 aggregate
9     PHPK1880265              Professional Liability   09/15/18 - 09/15/19 $1,000,000 Occurrence
                                                                            $3,000,000 Aggregate
10
               4.6         The COIs contain the following language:
11
                           THIS CERTIFICATE IS ISSUED AS A MATTER OF
12                         INFORMATION ONLY AND CONFERS NO RIGHTS UPON
                           THE CERTIFICATE HOLDER. THIS CERTIFICATE DOES
13                         NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND
                           OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
14                         BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT
                           CONSTITUTE A CONTRACT BETWEEN THE ISSUING
15                         INSURER(S),  AUTHORIZED    REPRESENTATIVE  OR
                           PRODUCER, AND THE CERTIFICATE HOLDER.
16
               The COIs go on to provide as follows:
17
                           IMPORTANT: If the certificate holder is an ADDITIONAL
18                         INSURED, the policy(ies) must have ADDITIONAL INSURED
                           provisions or be endorsed. IF SUBROGATION IS WAIVED,
19                         subject to the terms and conditions of the policy, certain policies
                           may require an endorsement. A statement on this certificate does
20                         not confer rights to the certificate holder in lieu of such
                           endorsement(s).
21
               4.7         The COIs also provide as follows:
22
                           THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE
23

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                                                                                       ATTORNEYS AT LAW
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1                          LISTED BELOW HAVE BEEN ISSUED TO THE INSURED
                           NAMED ABOVE FOR THE POLICY PERIOD INDICATED.
2                          NOTWITHSTANDING ANY REQUIREMENT, TERM OR
                           CONDITION OF ANY CONTRACT OR OTHER DOCUMENT
3                          WITH RESPECT TO WHICH THIS CERTIFICATE MAY BE
                           ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED
4                          BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL
                           THE TERMS, EXCLUSIONS AND CONDITIONS OF SUCH
5                          POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY
                           PAID CLAIMS.
6
               4.8         The Policy issued to Pioneer for the 2020-2021 policy period under Policy No.
7
     PHPK2179413 lists as an Additional Insured under the Additional Insured Schedule:
8
                           King County Drug Court
9                          516 Third Avenue, #E-609
                           Seattle, WA 98104-2363
10
                           CG2026 – WA – Loc #ALL – LIABILITY DELUXE
11
               4.9         The Policy issued to Pioneer for the 2018-2019 policy period under Policy No.
12
     PHPK1880265 lists as an Additional Insured under the Additional Insured Schedule:
13
                           King County Drug Court
14                         516 Third Avenue, #E-609
                           Seattle, WA 98104-2363
15
                           CG2026 – WA – Loc #ALL – LIABILITY DELUXE
16
               4.10        The Policies also contain the following Additional Insured Endorsement:
17
                           ADDITIONAL INSURED
18
                           PRIMARY AND NON-CONTRIBUTORY INSURANCE
19
                           This endorsement modifies insurance provided under the following:
20
                           COMMERCIAL GENERAL LIABILITY COVERAGE PART
21
                           SCHEDULE
22
                            Name Of Additional Insured Person(s) Or Organization(s):
23

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                                                                                      ATTORNEYS AT LAW
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1                           King County, its officers, officials, employees and agents, as
                            required by written contract. King County Drug Court
2
                            Information required to complete this Schedule, if not shown above,
3                           will be shown in the Declarations.

4                          A.     Section II – Who Is An Insured is amended to include as
                                  an additional insured the person(s) or organization(s) shown
5                                 in the Schedule, but only with respect to their liability for
                                  “bodily injury,” “property damage” or “personal and
6                                 advertising injury” caused, in whole or in part, by your acts
                                  or omissions or the acts or omissions of those acting on your
7                                 behalf:

8                                 1.      In the performance of your ongoing operations: or

9                                 2.      In connection with your premises owned by or rented
                                          to you.
10
                                  However:
11
                                  1.      The insurance afforded to such additional insured
12                                        only applies to the extent permitted by law; and

13                                2.      If coverage provided to the additional insured is
                                          required by a contract or agreement, the insurance
14                                        afforded to such additional insured will not be
                                          broader than that which you are required by the
15                                        contract or agreement to provide for such additional
                                          insured.
16
                           B.     With respect to the insurance afforded to these
17                                additional insureds, the following is added to Section III
                                  – Limits of Insurance:
18
                                  If coverage provided to the additional insured is required by
19                                a contract or agreement, the most we will pay on behalf of
                                  the additional insured is the amount of insurance:
20
                                  1.      Required by the contract or agreement; or
21
                                  2.      Available under the applicable Limits of Insurance
22                                        shown in the Declarations;

23                         Whichever is less.

     Complaint for Declaratory Judgment – 8                                     FORSBERG & UMLAUF, P.S.
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 1
                           This endorsement shall not increase the applicable Limits of
 2                         Insurance shown in the Declarations.

 3             4.11        The Additional Insured endorsements modify the Commercial General Liability

 4 Coverage Form and includes King County as an additional insured with respect to the CGL

 5 coverages only. King County is not an additional insured under the Professional Liability

 6 coverages issued to Pioneer, nor is King County an additional insured under the separate Claims-

 7 Made Human Services Organization Professional Liability coverage because no Additional

 8 Insured endorsement was requested or issued naming King County as an additional insured with

 9 respect to those coverages.

10             4.12        On or about March 1, 2022, Ms. Dickson and Ms. Kane jointly filed a Complaint

11 for Personal Injuries and Damages styled as Cari Dickson, individually, and Tara Kane,

12 individually v. King County, individually, and Pioneer Human Services, individually, Pierce

13 County Superior Court Cause No. 22-2-04981-8 (“Complaint”).

14             4.13        Philadelphia has no documentation or evidence that any representations were made

15 to King County that it was an additional insured under any Professional Liability Coverage or

16 under the separate Sexual or Physical Abuse or Molestation Claims Made Liability Coverage for

17 the policy years 2020-21 or 2018-2019.

18 B.          The Underlying Claims of Tara Kane

19             4.14        In her statutorily required Claim for Damages as a prerequisite to filing suit against

20 King County, Ms. Dickson alleged that she is a Licensed Practical Nurse (“LPN”) who was hired

21 by Pioneer in 2019. Ms. Dickson claims she was assigned to work on a King County Program for

22 Assertive Community Treatment (“PACT”) team involving drug testing and treatment services to

23 clients of the King County program.

     Complaint for Declaratory Judgment – 9                                       FORSBERG & UMLAUF, P.S.
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 1             4.15        Ms. Dickson alleged Pioneer’s PACT team failed to comply with “Marty’s Law,”

 2 RCW 71.05.700,2 and that Pioneer routinely ignored this safety measure, sending out workers

 3 alone to the homes of seriously mentally ill clients. Ms. Dickson further alleged on February 19,

 4 2021, Pioneer sent her to a PACT client’s residence alone, without being informed of the PACT

 5 client’s violent history. On that visit, Ms. Dickson alleges the PACT client sexually assaulted and

 6 nearly raped her.

 7             4.16        In her Claim for Damages to King County, Ms. Dickson alleges the following

 8 causes of action: (1) Statutory violation of RCW 71.05.700; (2) Negligent hiring, supervision, and

 9 training; (3) Negligence; (4) Negligence – special relationship; (5) Negligence – Risk of intentional

10 or criminal conduct; (6) Negligent infliction of emotional distress; (7) State created danger; (8)

11 Civil rights violation based on gender-based discrimination; and (9) Civil rights violation based

12 on deliberate indifference. The Damages claimed by Ms. Dickson are between $2M and $5M.

13             4.17        In her statutorily required Claim for Damages as a prerequisite to filing suit against

14 King County and in her Complaint, Ms. Kane alleged she is a Psychiatric / Mental Health Nurse

15 Practitioner who was hired by Pioneer in 2019. Ms. Kane claims she was assigned to work on a

16 King County Program for Assertive Community Treatment (“PACT”) team involving drug testing

17 and treatment services to clients of the King County program.

18

19

20   2
      RCW 71.05.700 provides: “No designated crisis responder or crisis intervention worker shall be required to respond
     to a private home or other private location to stabilize or treat a person in crisis, or to evaluate a person for potential
21   detention under the state’s involuntary treatment act, unless a second trained individual, determined by the clinical
     team supervisor, on-call supervisor, or individual professional acting alone based on a risk assessment for potential
22   violence, accompanies them. The second individual may be a law enforcement officer, a mental health professional,
     a mental health paraprofessional who has received training under RCW 71.05.715, or other first responder, such as
     fire or ambulance personnel. No retaliation may be taken against a worker who, following consultation with the
23   clinical team, refuses to go on a home visit alone.”

     Complaint for Declaratory Judgment – 10                                              FORSBERG & UMLAUF, P.S.
                                                                                                   ATTORNEYS AT LAW
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 1             4.18        Ms. Kane alleged Pioneer’s PACT team failed to comply with “Marty’s Law,”

 2 RCW 71.05.700,3 and that Pioneer routinely ignored this safety measure, sending out workers

 3 alone to the homes of seriously mentally ill clients. Ms. Kane further alleged that during the course

 4 of her work on the PACT Team, she was sexually assaulted, stalked, assaulted, threated, and

 5 sexually harassed by Pioneer PACT clients.

 6             4.19        In her Claim for Damages to King County, Ms. Kane alleged the following causes

 7 of action: (1) Statutory violation of RCW 71.05.700; (2) Negligent hiring, supervision, and

 8 training; (3) Negligence; (4) Negligence – special relationship; (5) Negligence – Risk of intentional

 9 or criminal conduct; (6) Negligent infliction of emotional distress; (7) State created danger; (8)

10 Civil rights violation based on gender-based discrimination; and (9) Civil rights violation based

11 on deliberate indifference. The Damages claimed by Ms. Kane are between $1 Million and $2

12 Million.

13             4.20        In her Complaint, Ms. Kane asserts additional claims against both Pioneer and King

14 County for employment-based claims relating to retaliation and gender-based employment

15 discrimination issues under the Washington Law Against Discrimination (“WLAD”), RCW 49.60,

16 010, et seq., and under 42 U.S.C. §1983. (See Complaint, at 20-22, ¶¶ 62-70.)

17

18

19

20   3
      RCW 71.05.700 provides: “No designated crisis responder or crisis intervention worker shall be required to respond
     to a private home or other private location to stabilize or treat a person in crisis, or to evaluate a person for potential
21   detention under the state’s involuntary treatment act, unless a second trained individual, determined by the clinical
     team supervisor, on-call supervisor, or individual professional acting alone based on a risk assessment for potential
22   violence, accompanies them. The second individual may be a law enforcement officer, a mental health professional,
     a mental health paraprofessional who has received training under RCW 71.05.715, or other first responder, such as
     fire or ambulance personnel. No retaliation may be taken against a worker who, following consultation with the
23   clinical team, refuses to go on a home visit alone.”

     Complaint for Declaratory Judgment – 11                                              FORSBERG & UMLAUF, P.S.
                                                                                                   ATTORNEYS AT LAW
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1 C.           The Insurance Policies at Issue

2              4.21        Philadelphia issued to Pioneer CGL Policy No. PHPK2179413, with effective dates

3 of September 15, 2020, to September 15, 2021.

4              4.22        Philadelphia also issued to Pioneer CGL Policy No. PHPK18802265, with effective

5 dates of September 15, 2018, to September 15, 2019.

6              4.23        The two CGL Policies identified above contain identical CGL policy language

7 [Form CG 00 01 04 13], beginning at page 1 of 16, and contains the following relevant insuring

8 agreement:

9                          SECTION I – COVERAGES

10                         COVERAGE A BODILY                INJURY       AND     PROPERTY
                           DAMAGE LIABILITY
11
                           1.     Insuring Agreement
12
                                  a.      We will pay those sums that the insured becomes
13                                        legally obligated to pay as damages because of
                                          “bodily injury” or “property damage” to which this
14                                        insurance applies. We will have the right and duty to
                                          defend the insured against any “suit” seeking those
15                                        damages. However, we will have no duty to defend
                                          the insured against any “suit” seeking damages for
16                                        “bodily injury” or “property damage” to which this
                                          insurance does not apply. We may, at our discretion
17                                        investigate any “occurrence” and settle any claim or
                                          “suit” that may result. But:
18
                                          (1)    The amount we will pay for damages is
19                                               limited as described in Section III – Limits
                                                 Of Insurance; and
20
                                          (2)    Our right and duty to defend ends when we
21                                               have used up the applicable limit of insurance
                                                 in the payment of judgments or settlements
22                                               under Coverages A or B or medical expenses
                                                 under Coverage C.
23

     Complaint for Declaratory Judgment – 12                                    FORSBERG & UMLAUF, P.S.
                                                                                        ATTORNEYS AT LAW
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1                                         No other obligation or liability to pay sums or
                                          perform acts or services is covered unless explicitly
2                                         provided for under Supplementary Payments –
                                          Coverages A and B.
3
                                b.        This insurance applies to “bodily injury” and
4                                         “property damage” only if:

5                                         (1)    The “bodily injury” or “property damage” is
                                                 caused by an “occurrence” that takes place in
6                                                the “coverage territory”;

7                                         (2)    The “bodily injury” or “property damage”
                                                 occurs during the policy period; and
8
                                          (3)    Prior to the policy period, no insured listed
9                                                under Paragraph 1. of Section II – Who Is An
                                                 Insured and no “employee” authorized by
10                                               you to give or receive notice of an
                                                 “occurrence” or claim, knew that the “bodily
11                                               injury” or “property damage” had occurred,
                                                 in whole or in part. If such a listed insured or
12                                               authorized “employee” knew, prior to the
                                                 policy period, that the “bodily injury” or
13                                               “property damage” occurred, then any
                                                 continuation, change or resumption of such
14                                               “bodily injury” or “property damage” during
                                                 or after the policy period will be deemed to
15                                               have been known prior to the policy period.

16                              c.        “Bodily injury” or “property damage” which occurs
                                          during the policy period and was not, prior to the
17                                        policy period, known to have occurred by any
                                          insured listed under Paragraph 1. of Section II –
18                                        Who Is An Insured or any “employee” authorized by
                                          you to give or receive notice of an “occurrence” or
19                                        claim, includes any continuation, change or
                                          resumption of that “bodily injury” or “property
20                                        damage” after the end of the policy period.

21                              ***

22                         2.   Exclusions

23                              This insurance does not apply to:

     Complaint for Declaratory Judgment – 13                                     FORSBERG & UMLAUF, P.S.
                                                                                         ATTORNEYS AT LAW
                                                                                   901 FIFTH AVENUE  SUITE 1400
                                                                                   SEATTLE, WASHINGTON 98164
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1
                                a.        Expected Or Intended Injury
2                                         “Bodily injury” or “property damage” expected or
                                          intended from the standpoint of the insured. This
3                                         exclusion does not apply to “bodily injury” resulting
                                          from the use of reasonable force to protect persons or
4                                         property.

5                               b.        Contractual Liability

6                                         “Bodily injury” or “property damage” for which the
                                          insured is obligated to pay damages by reason of the
7                                         assumption of liability in a contractor or agreement.
                                          This exclusion does not apply to liability for
8                                         damages:

9                                         (1)    That the insured would have in the absence of
                                                 the contract or agreement; or
10
                                          (2)    Assumed in a contract or agreement that is an
11                                               “insured contract” provided the “bodily
                                                 injury” or “property damage” occurs
12                                               subsequent to the execution of the contract or
                                                 agreement. Solely for the purposes of
13                                               liability assumed in an “insured contract”,
                                                 reasonable attorney fees and necessary
14                                               litigation expenses incurred by or for a party
                                                 other than an insured are deemed to be
15                                               damages because of “bodily injury” or
                                                 “property damage”, provided:
16
                                                 (a)     Liability to such party for, or for the
17                                                       cost of, that party’s defense has also
                                                         been assumed in the same “insured
18                                                       contract”; and

19                                               (b)     Such attorney fees and litigation
                                                         expenses are for defense of that party
20                                                       against a civil or alternative dispute
                                                         resolution proceeding in which
21                                                       damages to which this insurance
                                                         applies are alleged.
22
                           COVERAGE B PERSONAL AND ADVERTISING INJURY
23                         LIABILITY

     Complaint for Declaratory Judgment – 14                                    FORSBERG & UMLAUF, P.S.
                                                                                         ATTORNEYS AT LAW
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1
                           1.   Insuring Agreement
2
                                a.        We will pay those sums that the insured becomes
3                                         legally obligated to pay as damages because of
                                          “personal and advertising injury” to which this
4                                         insurance applies. We will have the right and duty
                                          to defend the insured against any “suit” seeking
5                                         those damages. However, we will have no duty to
                                          defend the insured against any “suit” seeking
6                                         damages for “personal and advertising injury” to
                                          which this insurance does not apply. We may, at our
7                                         discretion, investigate any offense and settle any
                                          claim or “suit” that may result. But:
8
                                          (1)    The amount we will pay for damages is
9                                                limited as described in Section III – Limits
                                                 Of Insurance; and
10
                                          (2)    Our right and duty to defend end when we
11                                               have used up the applicable limit of insurance
                                                 in the payment of judgments or settlements
12                                               under Coverages A or B or medical expenses
                                                 under Coverage C.
13
                                          No other obligation or liability to pay sums or
14                                        perform acts or services is covered unless explicitly
                                          provided for under Supplementary Payments –
15                                        Coverages A and B.

16                              b.        This insurance applies to “personal and advertising
                                          injury” caused by an offense arising out of your
17                                        business but only if the offense was committed in the
                                          “coverage territory” during thepolicy period.
18
                           2.   Exclusions
19
                                This insurance does not apply to:
20
                                a.        Knowing Violation Of Rights Of Another
21
                                          “Personal and advertising injury” caused by or at the
22                                        direction of the insured with the knowledge that the
                                          act would violate the rights of another and would
23                                        inflict “personal and advertising injury”.

     Complaint for Declaratory Judgment – 15                                    FORSBERG & UMLAUF, P.S.
                                                                                        ATTORNEYS AT LAW
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 1
                                  …
 2
                                  e.      Contractual Liability
 3
                                          “Personal and advertising injury” arising out of oral
 4                                        or written publication of material whose first
                                          publication took place before the beginning of the
 5                                        policy period.

 6                                f.      Breach of Contract

 7                                        “Personal and advertising injury” arising out of a
                                          breach of contract, except an implied contract to use
 8                                        another’s advertising idea in your “advertisement”.

 9             4.24        Both CGL Policies issued to Pioneer also contain the following additional

10 endorsement [Form PI-GLD-HS (10/11)] that revises the terms of the policy:

11                         GENERAL LIABILITY DELUXE ENDORSEMENT:

12                         HUMAN SERVICES

13                         This endorsement modifies insurance provided under the following:

14                         COMMERCIAL GENERAL LIABILITY COVERAGE

15                         It is understood and agreed that the following extensions only apply
                           in the event that no other specific coverage for the indicated loss
16                         exposure is provided under this policy. If such specific coverage
                           applies, the terms, conditions and limits of that coverage are the sole
17                         and exclusive coverage applicable under this policy, unless
                           otherwise noted on this endorsement. The following is a summary
18                         of the Limits of Insurance and additional coverages provided by this
                           endorsement. For complete details on specific coverages, consult
19                         the policy contract wording.

20                         ***

21                         A.     Extended Property Damage

22                                SECTION I – COVERAGES, COVERAGE A BODILY
                                  INJURY AND PROPERTY DAMAGE LIABILITY,
23                                Subsection 2. Exclusions, Paragraph a. is deleted in its

     Complaint for Declaratory Judgment – 16                                      FORSBERG & UMLAUF, P.S.
                                                                                          ATTORNEYS AT LAW
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                                                                                    SEATTLE, WASHINGTON 98164
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1                                entirety and replaced by thefollowing:

2                                a.       Expected or Intended Injury

3                                         “Bodily injury” or property damage” expected or
                                          intended from the standpoint of the insured. This
4                                         exclusion does not apply to “bodily injury” or
                                          “property damage” resulting from the use of
5                                         reasonable force to protect persons or property.

6                          ***

7                          L.    Additional Insureds

8                                SECTION II – WHO IS AN INSURED is amended as
                                 follows:
9
                                 1.       If coverage for newly acquired or formed
10                                        organizations is not otherwise excluded from this
                                          Coverage Part, Paragraph 3.a. is deleted in its
11                                        entirely and replaced by the following:

12                                        a.     Coverage under this provision is afforded
                                                 until the end of the policy period.
13
                                 2.       Each of the following is also an insured:
14
                                          …
15
                                          k.     As Required by Contract – Any person or
16                                               organization where required by a written
                                                 contract executed prior to the occurrence of a
17                                               loss. Such person or organization is an
                                                 additional insured for “bodily injury,”
18                                               “property damage” or “personal and
                                                 advertising injury” but only for liability
19                                               arising out of the negligence of the named
                                                 insured. The limits of insurance applicable to
20                                               these additional insureds are the lesser of the
                                                 policy limits or those limits specified in a
21                                               contract or agreement. These limits are
                                                 included within and not in addition to the
22                                               limits of insurance shown in the Declarations.

23                                        ***

     Complaint for Declaratory Judgment – 17                                    FORSBERG & UMLAUF, P.S.
                                                                                        ATTORNEYS AT LAW
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 1
                                          m.     State or Political Subdivisions – Any state
 2                                               or political subdivision as required, subject to
                                                 the following provisions:
 3
                                                 (1)     This insurance applies only with
 4                                                       respect to operations performed by
                                                         you or on your behalf for which the
 5                                                       state or political subdivision has
                                                         issued a permit, and is required by
 6                                                       contract.

 7                                               (2)     This insurance does not apply to:

 8                                                       (a)     “Bodily injury,” “property
                                                                 damage: or “personal and
 9                                                               advertising injury” arising out
                                                                 of operations performed for
10                                                               the state or municipality; or

11                                                       (b)     “Bodily injury” or “property
                                                                 damage” included within the
12                                                               “products-completed
                                                                 operations hazard.”
13
                           R.    Personal and Advertising Injury – Abuse of Process,
14                               Discrimination

15                               If COVERAGE B PERSONAL AND ADVERTISING
                                 INJURY LIABILITY COVERAGE is not otherwise
16                               excluded from this Coverage Part, the definition of “personal
                                 and advertising injury” is amended as follows:
17
                                 1.       SECTION V – DEFINITIONS, Paragraph 14.b. is
18                                        deleted in its entirety and replaced by the following:

19                                        b.     Malicious prosecution or abuse of process;

20             4.25        Both CGL Policies contain the following exclusion [Form PI-SAM-006 (01/17)]

21 which precludes coverage arising out of the CGL Coverage Part:

22                         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE
                           READ IT CAREFULLY.
23

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                                                                                         ATTORNEYS AT LAW
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1                          ABUSE OR MOLESTATION EXCLUSION

2                          This endorsement modifies insurance provided under the following:

3                          COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           The following exclusion is added to Paragraph 2. Exclusions of
4                          SECTION I – COVERAGE A BODILY INJURY AND
                           PROPERTY DAMAGE LIABILITY and Paragraph 2.
5                          Exclusions of SECTION I – COVERAGE B – PERSONAL
                           AND ADVERTISING INJURY LIABILITY:
6
                           This insurance does not apply to any injury sustained by any person
7                          arising out of or resulting from the alleged, actual or threatened
                           abuse or molestation by anyone.
8
                           We shall not have any duty to defend any “suit” against any insured
9                          seeking damages on account of any such injury.

10                         This exclusion applies to all injury sustained by any person,
                           including emotional distress, arising out of molestation or abuse
11                         whether alleged, actual or threatened including but not limited to
                           molestation or abuse arising out of your negligence or other
12                         wrongdoing with respect to:

13                         1.     Hiring, placement, employment, training;

14                         2.     Investigation;

15                         3.     Supervision;

16                         4.     Reporting any molestation or abuse to the proper authorities,
                                  or failure to so report; or
17
                           5.     Retention;
18
                           of a person for whom any insured is or ever was legally responsible
19                         or for whom any insured may have assumed the liability; and whose
                           conduct would be excluded above.
20
               4.26        The following exclusion [Form CG 01 97 12 07] applies to exclude from CGL
21
     coverage employment-related practices claims in both Philadelphia Policies Nos. PHPK2179413
22
     (9/15/2020 to 9/15/2021) and PHPK1880265 (9/15/2018 to 9/15/2019):
23

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                                                                                        ATTORNEYS AT LAW
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1                          WASHINGTON CHANGES – EMPLOYMENT-RELATED
                           PRACTICES EXCLUSION
2
                           This endorsement modifies insurance provided under the following:
3
                           COMMERCIAL GENERAL LIABILITY COVERAGE PART
4                          A.  The following exclusion is added to Paragraph 2.,
                               Exclusions of Coverage A – Bodily Injury And Property
5                              Damage Liability (Section I – Coverages):

6                                 This insurance does not apply to:

7                                 “Bodily injury” to:

8                                 1.      A person arising out of any:

9                                         a.     Refusal to employ that person;

10                                        b.     Termination of that person’s employment; or

11                                        c.     Employment-related practices, policies, acts
                                                 or omissions, such as coercion, demotion,
12                                               evaluation,      reassignment,   discipline,
                                                 defamation,       harassment,  humiliation,
13                                               discrimination or malicious prosecution
                                                 directed at that person; or
14
                                  2.      The spouse, child, parent, brother or sister of that
15                                        person as a consequence of “bodily injury” to that
                                          person at whom any of the employment- related
16                                        practices described in Paragraphs a., b. and c. above
                                          is directed.
17
                                  This exclusion applies:
18
                                  1.      Whether the injury-causing event described in
19                                        Paragraphs a., b. or c. above occurs before
                                          employment, during employment or after
20                                        employment of that person;

21                                2.      Whether the insured may be liable as an employer or
                                          in any other capacity; and
22

23

     Complaint for Declaratory Judgment – 20                                    FORSBERG & UMLAUF, P.S.
                                                                                         ATTORNEYS AT LAW
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1                               3.        To any obligation to share damages with or repay
                                          someone else who must pay damages because of the
2                                         injury.

3                               However, Paragraphs 1.a. and 2. of this exclusion do not
                                apply if such “bodily injury” is sustained by any “employee”
4                               of the insured whose employment is subject to the Industrial
                                Insurance Act of Washington (Washington Revised Code
5                               Title 51).

6                          B.   The following exclusion is added to Paragraph 2.,
                                Exclusions of Coverage B – Personal And Advertising
7                               Injury Liability (Section I – Coverages):

8                               This insurance does not apply to:

9                               “Personal and advertising injury” to:

10                              1.        A person arising out of any:

11                                        a.     Refusal to employ that person;

12                                        b.     Termination of that person’s employment; or

13                                        c.     Employment-related practices, policies, acts
                                                 or omissions, such as coercion, demotion,
14                                               evaluation,      reassignment,   discipline,
                                                 defamation,       harassment,  humiliation,
15                                               discrimination or malicious prosecution
                                                 directed at that person; or
16
                                2.        The spouse, child, parent, brother or sister of that
17                                        person as a consequence of “personal and advertising
                                          injury” to that person at whom any of the
18                                        employment-related       practices    described   in
                                          Paragraphs a., b. and c. above is directed.
19
                                This exclusion applies:
20
                                1.        Whether the injury-causing event described in
21                                        Paragraphs a., b. or c. above occurs before
                                          employment, during employment or after
22                                        employment of that person;

23

     Complaint for Declaratory Judgment – 21                                   FORSBERG & UMLAUF, P.S.
                                                                                         ATTORNEYS AT LAW
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1                                 2.      Whether the insured may be liable as an employer or
                                          in any other capacity; and
2
                                  3.      To any obligation to share damages with or repay
3                                         someone else who must pay damages because of the
                                          injury.
4
                                  However, Paragraphs 1.a. and 2. of this exclusion do not
5                                 apply if such “personal and advertising in- jury” is sustained
                                  by any “employee” of the insured whose employment is
6                                 subject to the Industrial Insurance Act of Washington
                                  (Washington Revised Code Title 51).
7
               4.27        The CGL Policies [Form CG 00 01 04 13], beginning at page 13 of 16, also contains
8
     the following relevant Definitions:
9
                           SECTION V – DEFINITIONS
10
                           ***
11
                           3.     “Bodily injury” means bodily injury, sickness or disease
12                                sustained by a person, including death resulting from any of
                                  these at any time.
13
                           ***
14
                           13.    “Occurrence” means an accident, including continuous or
15                                repeated exposure to substantially the same general harmful
                                  conditions.
16
                           14.    “Personal and advertising injury” means injury, including
17                                consequential “bodily injury”, arising out of one or more of
                                  the following offenses:
18
                                  a.      False arrest, detention or imprisonment;
19
                                  b.      Malicious prosecution;
20
                                  c.      The wrongful eviction from, wrongful entry into, or
21                                        invasion of the right of private occupancy ofa room,
                                          dwelling or premises that a person occupies,
22                                        committed by or on behalf of its owner, landlord or
                                          lessor;
23

     Complaint for Declaratory Judgment – 22                                    FORSBERG & UMLAUF, P.S.
                                                                                         ATTORNEYS AT LAW
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                                                                                   SEATTLE, WASHINGTON 98164
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1                                 d.      Oral or written publication, in any manner, of
                                          material that slanders or libels a person or
2                                         organization or disparages a person’s or
                                          organization’s goods, products or services;
3
                                  e.      Oral or written publication, in any manner, of
4                                         material that violates a person’s right of privacy;

5                                 f.      The use of another’s advertising idea in your
                                          “advertisement”; or
6
                                  g.      Infringing upon another’s copyright, trade dress or
7                                         slogan in your “advertisement”.

8                          ***

9                          18.    “Suit” means a civil proceeding in which damages because
                                  of “bodily injury”, “property damage” or “personal and
10                                advertising injury” to which this insurance applies are
                                  alleged. “Suit” includes:
11
                                  a.      An arbitration proceeding in which such damages are
12                                        claimed and to which the insured must submit or
                                          does submit with our consent; or
13
                                  b.      Any other alternative dispute resolution proceeding
14                                        in which such damages are claimed and to which the
                                          insured submits with our consent.
15
               4.28        The CGL Policies also contain the following exclusion [Form PI-SAM-018
16
     (05/19)] which precludes coverage arising out of professional liability:
17
                           ABSOLUTE ABUSE OR MOLESTATION EXCLUSION
18                         PROFESSIONAL LIABILITY

19                         The following exclusion applies to all professional liability
                           coverages afforded in any coverage form or endorsement issued by
20                         us. When the applicable professional liability coverage:

21                         A.     Contains an abuse or molestation exclusion, it is deleted in
                                  its entirety and replaced with the following; or
22
                           B.     Does not contain an abuse or molestation exclusion, the
23                                following is added:

     Complaint for Declaratory Judgment – 23                                   FORSBERG & UMLAUF, P.S.
                                                                                       ATTORNEYS AT LAW
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 1
                                  This insurance does not apply to any loss, cost, expense, fine,
 2                                penalty, act, error and omission, or damage alleging, arising
                                  out of or from, attributable to, or giving rise to any injury
 3                                sustained by any person caused by the alleged, actual or
                                  threatened abuse or molestation by anyone.
 4
                                  We shall not have any duty to defend any “suit” against any
 5                                insured on account of any such injury.
                                  This exclusion applies to all injury sustained by any person,
 6                                including emotional distress, arising out of molestation or
                                  abuse whether alleged, actual or threatened including but not
 7                                limited to molestation or abuse arising out of your
                                  negligence or other wrongdoing with respect to:
 8
                                  1.      a.     Hiring, placement, employment, training;
 9
                                          b.     Investigation;
10
                                          c.     Supervision;
11
                                          d.     Reporting any molestation or abuse to the
12                                               proper authorities, or failure to so report; or

13                                        e.     Retention

14                                of a person for whom any insured is or ever was legally
                                  responsible or for whom any insured may have assumed the
15                                liability; and whose conduct would be excluded above; or

16                                2.      a.     Failure to provide professional services to; or

17                                        b.     Neglect of the therapeutic needs of,

18                                any person because of the conduct which would be excluded
                                  above.
19
                                  This endorsement is an absolute exclusion for abuse or
20                                molestation.

21                                All other terms and conditions remain unchanged.

22             4.29        Both Policies contain the following exclusion [Form IL 01 23 11 13] which applies

23 to the Commercial General Liability Coverage Part:

     Complaint for Declaratory Judgment – 24                                      FORSBERG & UMLAUF, P.S.
                                                                                          ATTORNEYS AT LAW
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                                                                                    SEATTLE, WASHINGTON 98164
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1                          WASHINGTON CHANGES – DEFENSE COSTS

2                          This endorsement modifies insurance provided under the following:

3                          . . .

4                          COMMERCIAL GENERAL LIABILITY COVERAGE PART
                           COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
5                          . . .

6                          A.      The provisions of Paragraph B. are added to all Insuring
                                   Agreements that set forth a duty to defend under:
7
                                   1.      Section I of the Commercial General Liability,
8                                          Commercial Liability Umbrella, . . .;

9                                  4.      Section A. Coverage under the Legal Liability
                                           Coverage Form;
10
                                   . . .
11
                                   Paragraph B. also applies to any other provision in the policy
12                                 that sets forth a duty to defend.

13                         B.      If we initially defend an insured (“insured”) or pay for an
                                   insured’s (“insured’s”) defense but later determine that none
14                                 of the claims (“claims”), for which we provided a defense or
                                   defense costs, are covered under this insurance, we have the
15                                 right to reimbursement for the defense costs we have
                                   incurred.
16
                                   The right to reimbursement under this provision will only
17                                 apply to the costs we have incurred after we notify you in
                                   writing that there may not be coverage and that we are
18                                 reserving our rights to terminate the defense or the payment
                                   of defense costs and to seek reimbursement for defense costs.
19
                           V. FIRST CLAIM FOR RELIEF – DECLARATORY RELIEF
20
               5.1         Philadelphia hereby realleges and incorporates by reference the allegations of
21
     paragraphs 1.1 through 4.29 as if set forth verbatim.
22

23

     Complaint for Declaratory Judgment – 25                                     FORSBERG & UMLAUF, P.S.
                                                                                          ATTORNEYS AT LAW
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                                                                                    SEATTLE, WASHINGTON 98164
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 1             5.2         In accordance with 28 U.S.C. §2201, Philadelphia seeks a ruling from this Court

 2 that the Policies at issue do not provide coverage for either a defense or indemnity for the Claims

 3 or Causes of Action asserted by Cari Dickson or Tara Kane in their Complaint or Claims for

 4 Damages to King County, as described above.

 5             5.3         The Philadelphia Policies at issue do not provide coverage for claims that do not

 6 fall within the scope of coverage or that are excluded by the language of the Policies. Philadelphia

 7 has no duty to defend or indemnify King County as an additional insured under the policies issued

 8 to Pioneer because: (1) King County is only an Additional Insured under the CGL Policies issued

 9 to Pioneer; (2) CGL Policies Nos. PHPK2179413 (9/15/2020 to 9/15/2021) and PHPK18802265

10 (9/15/2018 to 9/15/2019) contain exclusions [Form PI-SAM-006 (01/17)] for any Abuse or

11 Molestation Claims under that CGL Coverages as defined in that Form; (3) CGL Policy Nos.

12 PHPK2179413 (9/15/2020 to 9/15/2021) and PHPK18802265 (9/15/2018 to 9/15/2019) contain

13 exclusions [Form CG 01 97 12 07] for any employment-related practices including discipline,

14 defamation, harassment, humiliation, discrimination or retaliation; (4) King County is not an

15 additional insured under the Professional Liability coverages issued to Pioneer because no

16 Additional Insured endorsement was requested or issued naming King County as an additional

17 insured with respect to those coverages; (5) Even if King County was deemed an additional insured

18 under the Professional Liability coverage issued to Pioneer, which it is not, the Policies contain an

19 Absolute Abuse or Molestation Exclusion [Form PI-SAM-018 (05/19)] which would preclude

20 coverage for the claims asserted by Cari Dickson and Tara Kane in their Complaint and Claims

21 for Damages to King County; (6) Since under Endorsement [Form PI-GLD-HS (10/11)] at page 9

22 of 12, to CGL Policy Nos. PHPK2179413 (9/15/2020 to 9/15/2021) and PHPK18802265

23 (9/15/2018 to 9/15/2019), King County is “an additional insured for “bodily injury,” “property

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 1 damage” or “personal and advertising injury” but only for liability arising out of the negligence of

 2 the named insured,” Philadelphia has no obligation to defend or indemnify King County for claims

 3 arising from its sole negligence or fault.

 4             5.4         Since Philadelphia provided advance notice to Defendant King County that it

 5 intended to rely upon the provisions of Form IL 01 23 11 13 entitled “Washington Changes –

 6 Defense Costs,” which indicates that if Philadelphia initially undertakes the defense of an insured

 7 but later determines that none of the claims for which Philadelphia provided a defense are covered

 8 under the Policies, Philadelphia seeks a ruling from this Court that it may terminate the defense of

 9 Defendant King County and that it is entitled to reimbursement of the defense costs incurred to the

10 date of the withdrawal of the defense.

11             5.5         An actual and justiciable controversy exists between Philadelphia and Defendants

12 concerning whether there is insurance coverage under Philadelphia Policies Nos. PHPK2179413

13 (9/15/2020 to 9/15/2021) and PHPK18802265 (9/15/2018 to 9/15/2019) for the claims asserted in

14 the Complaint and Claims for Damages to King County asserted by Cari Dickson and Tara Kane.

15             5.6         In the event that the Court finds that the Philadelphia CGL Policies provide

16 coverage for King County as an additional insured under the CGL policy issued to Pioneer,

17 Philadelphia requests that this Court declare that the claims and causes of action asserted by Cari

18 Dickson and Tara Kane in their Complaint and Claims for Damages to King County are excluded

19 from coverage for either a defense or indemnity by virtue of the exclusion [Form PI-SAM-006

20 (01/17)] for any Abuse or Molestation Claims contained within Philadelphia CGL Policies Nos.

21 PHPK2179413 (9/15/2020 to 9/15/2021) and PHPK18802265 (9/15/2018 to 9/15/2019).

22             5.7         In the event that the Court finds that the Philadelphia CGL Policies provide

23 coverage for King County as an additional insured under the CGL policies issued to Pioneer,

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 1 Philadelphia requests that this Court declare that the claims and causes of action asserted by Cari

 2 Dickson and Tara Kane in their Complaint and Claims for Damages to King County are excluded

 3 from coverage for either a defense or indemnity by virtue of the exclusion [Form CG 01 97 12 07]

 4 for any employment-related practices including discipline, defamation, harassment, humiliation,

 5 discrimination or retaliation contained within Philadelphia CGL Policies Nos. PHPK2179413

 6 (9/15/2020 to 9/15/2021) and PHPK18802265 (9/15/2018 to 9/15/2019).

 7             5.8         Due to the absence of an Additional Insured Endorsement having been issued to

 8 King County under the Professional Liability coverage issued to Pioneer, Philadelphia requests

 9 that this Court declare that King County is not entitled to coverage under the Professional Liability

10 coverages issued to Pioneer for either a defense or indemnity to the claims and causes of action

11 asserted by Cari Dickson and Tara Kane in their Complaint and Claims for Damages to King

12 County.

13             5.9         In the event that the Court finds that King County is entitled to coverage as an

14 Additional Insured under the Professional Liability coverages issued to Pioneer, Philadelphia

15 requests that this Court declare that the Absolute Abuse or Molestation Exclusion [Form PI-SAM-

16 018 (05/19)] precludes coverage for the claims and causes of action asserted by Cari Dickson and

17 Tara Kane in their Claim for Damages to King County for either a defense or indemnity under

18 Philadelphia CGL Policies Nos. PHPK2179413 (9/15/2020 to 9/15/2021) and PHPK18802265

19 (9/15/2018 to 9/15/2019).

20             5.10        Due to the absence of an Additional Insured Endorsement having been issued to

21 King County under the separate Claims-Made Human Services Organization Professional Liability

22 coverages issued to Pioneer, Philadelphia requests that this Court declare that King County is not

23 entitled to coverage for either a defense or indemnity under that coverage for the claims and causes

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 1 of action asserted by Cari Dickson and Tara Kane in their Complaint and Claims for Damages to

 2 King County.

 3             5.11        In the event that the Court finds that King County is entitled to a defense and/or

 4 indemnity under either the CGL, Professional Liability, or other coverages issued by Philadelphia

 5 to Pioneer, Philadelphia requests that this Court declare the maximum amounts Philadelphia would

 6 be liable for indemnity expenses are those amounts listed in the applicable Limits of Liability

 7 stated in the Policy or Policies.

 8             5.12        Philadelphia asserts that any potential coverage of King County as an additional

 9 insured under the policies issued to Pioneer is limited or precluded under other further policy

10 language or on other grounds that may restrict or preclude coverage under the Policies.

11                                 VI. RESERVATION OF RIGHT TO AMEND

12             Philadelphia reserves the right to amend its Complaint, in whole or in part, as it obtains

13 additional facts and evidence through investigation and discovery.

14                                             VII. PRAYER FOR RELIEF

15             Philadelphia prays for the following relief:

16             For a Declaratory Judgment in its favor that:

17             7.1         Philadelphia’s CGL, Professional Liability, and separate Claims-Made Human

18 Services Organization Professional Liability coverages issued to Pioneer do not provide coverage

19 for the claims asserted against King County for the claims and causes of action asserted by Cari

20 Dickson and Tara Kane in their Complaint and Claims for Damages to King County.

21             7.2         Philadelphia has no duty to defend King County under the CGL, Professional

22 Liability, or separate Claims-Made Human Services Organization Professional Liability,

23 coverages issued to Pioneer for the claims asserted against King County for the claims and causes

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 1 of action asserted by Cari Dickson and Tara Kane in their Complaint and Claims for Damages to

 2 King County.

 3             7.3         Philadelphia has no duty to indemnify King County under the CGL, Professional

 4 Liability, or separate Claims-Made Human Services Organization Professional Liability coverages

 5 issued to Pioneer for the claims asserted against King County for the claims and causes of action

 6 asserted by Cari Dickson and Tara Kane in their Complaint and Claims for Damages to King

 7 County.

 8             7.4         Philadelphia is entitled to immediately withdraw its defense of King County for the

 9 claims and causes of action asserted by Cari Dickson and Tara Kane in their Complaint for

10 Damages against King County.

11             7.5         Philadelphia is entitled to reimbursement of the defense costs and fees it has

12 incurred in the defense of Defendant King County from the time of its first notice of its intent to

13 rely upon Form IL 01 23 11 13 appended to Philadelphia CGL Policies Nos. PHPK2179413, with

14 effective dates of September 15, 2020 to September 15, 2021, and PHPK18802265, with effective

15 dates of September 15, 2018, to September 15, 2019, entitled “Washington Changes – Defense

16 Costs.”

17             7.6         For Philadelphia’s attorneys’ fees and costs to the extent permitted by law.

18             7.7         For such other and further relief as this Court may deem just and equitable.

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1              Dated this 2nd day of August, 2022.

2                                                    FORSBERG & UMLAUF, P.S.

3                                                    s/Ryan J. Hesselgesser
                                                     Ryan J. Hesselgesser, WSBA #40720
4
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